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                      UNITED STATES DISTRICT COURT

                      WESTERN DISTRICT OF MICHIGAN

MARK GOTTSLEBEN, individually and on behalf
of all others similarly situated,             CASE NO. 1:22-cv-00866-HYJ-RSK
                                              CLASS ACTION
                        Plaintiff,
                                              Chief Judge Hala Y. Jarbou
        vs.                                   Magistrate Judge Ray Kent

INFORMA MEDIA, INC. F/K/A PENTON MEDIA,
INC.,

                        Defendant.




                    MEMORANDUM OF LAW IN SUPPORT OF
                     DEFENDANT INFORMA MEDIA, INC.’S
              MOTION TO EXTEND RESPONSIVE PLEADING DEADLINE




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I.       INTRODUCTION.

         Defendant Informa Media, Inc. (“Defendant”) respectfully requests that the Court extend

its time to file a responsive pleading pursuant to Fed.R.Civ.P. 6(b)(1)(B) for the reasons set forth

below.


II.      FACTUAL AND PROCEDURAL BACKGROUND.

         On July 7, 2023, the Court denied Informa’s motion to dismiss. See ECF Nos. 51 and 52.

Pursuant to Fed.R.Civ.P. 4, Informa’s answer was due within fourteen (14) days thereafter—July

21, 2023. On July 21, 2023, Informa’s counsel contacted Plaintiff’s counsel and requested a one

(1) business day extension of time to file its answer, to July 24, 2023, due to a scheduling error.

See Korman Declaration. Plaintiff’s counsel indicated that it should not be a problem but that he

had to confirm the position with the other members of Plaintiff’s representation team. A few hours

later, Plaintiff’s counsel indicated that Plaintiff consented to a one-day extension of time and also

incorporated a request that Informa provide certain additional case documentation in response to

discovery. See Id. at Exhibit A. Informa finalized the Answer while also working on discovery

documents. Id. Before Informa was able to file a motion to extend time or stipulation, the Court

issued an Order to Show Cause directing that Informa show cause in writing as to why the Court

should not enter a default judgment and indicated that if Informa wishes to file a responsive

pleading, it must file a motion seeking an extension of time under Rule 6(b)(1)(B). See ECF no.

53.

III.     LEGAL STANDARD.

         “Rule 6(b) of the Federal Rules of Civil Procedure provides that when a party moves the

court to accept a filing after the relevant deadline, the court may do so “where the failure to [file

before the deadline] was the result of excusable neglect.” Nafziger v. McDermott Int'l, Inc., 467


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F.3d 514, 522 (6th Cir. 2006).          “[t]he governing legal standard for excusable-neglect

determinations is a balancing of five principal factors: (1) the danger of prejudice to the nonmoving

party, (2) the length of the delay and its potential impact on judicial proceedings, (3) the reason

for the delay, (4) whether the delay was within the reasonable control of the moving party, and (5)

whether the late-filing party acted in good faith.” Id.


IV.     ARGUMENT.

        Informa’s failure to file it’s answer on July 21, 2023 is excusable. Once Informa identified

the scheduling error, it received consent for a one-day extension of time from Plaintiff and did not

act willfully or in bad faith. Informa is also submitting with this Motion a copy of its proposed

answer for filing. See Korman Decl., Exhibit B. The excusable neglect factors weigh heavily in

favor of granting this motion: (1) There is no prejudice to the Plaintiff in the one-day extension—

Plaintiff consented to the extension and discovery has been ongoing notwithstanding the one-day

extension; (2) the length of the delay is only one day and has not had any impact on the

proceedings; (3) the reason for the delay was because of a scheduling error; (4) the delay was not

within the moving party’s control given the scheduling error; however, the scheduling error was

within the moving party’s control in that the undersigned was mistaken as to the timing of the

Answer; and (5) Informa acted in good faith because it requested and obtained consent to file by

June 24, 2023. However, Informa neglected to file the stipulation or joint motion regarding the

Answer extension on July 21, 2023 before the Court’s closing.

V.      CONCLUSION.

        For the foregoing reasons, Defendant respectfully requests that the Court accept its

Exhibit B answer for filing.




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DATED: July 24, 2023

                                Respectfully submitted,

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                             CERTIFICATE OF COMPLIANCE

        The Memorandum in Support of Defendant Informa Media, Inc.’s Motion to Dismiss

complies with the word count limitation of W.D. Mich LCivR 7.3(b)(i) because the brief contains

578 words, including headings, footnotes, citations, and quotations, and excluding the parts of the

brief exempted under W.D. Mich LCivR. 7.2(c). The word count was generated using Microsoft

Word.


DATED: July 24, 2023                     Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 24, 2023, I caused the foregoing to be electronically filed

with the Clerk of the Court using the CM/ECF system, which will send notification of such

filing to all attorneys or parties of record.



                                            By: /s/ Ana Tagvoryan
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